       Case 2:15-cv-03398-NJB-JCW Document 56 Filed 01/06/16 Page 1 of 3



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF LOUISIANA

RODNEY POINTER, individually and on                  §
behalf of all other similarly situated,              §   CIVIL ACTION NO. 15-3398
                                                     §
                                  Plaintiff,         §   SECTION: “G”(2)
                                                     §
       v.                                            §   JUDGE: NANNETTE J. BROWN
                                                     §
FLIGHT SERVICES & SYSTEMS, INC.,                     §   MAG: JOSEPH C. WILKINSON,
                                                     §   JR.
                                Defendant.           §


                 JOINT MOTION FOR ENTRY OF PROTECTIVE ORDER

        Pursuant to Fed. R. Civ. P. 26(c), Plaintiff Rodney Pointer (“Plaintiff” or “Pointer”) and

Defendant Flight Services & Systems, Inc. (“Defendant” or “FSS”) (together “the Parties”), by

and through their respective counsel, hereby move the Court to enter a Protective Order concerning

the discovery and use of certain confidential information in this case. As grounds for this Motion,

the Parties state as follows:

        1.     Discovery in this action will involve the disclosure of confidential, proprietary or

private information for which special protection from public disclosure and from use for any

purpose other than prosecuting or defending against this litigation is warranted.

        2.     The confidential and proprietary material that may be produced in this action

includes, but is not limited to: (a) personnel records of Defendant’s current or former employees;

(b) Defendant’s trade secrets; (c) privileged or confidential commercial information; (d) privileged

or confidential financial information; and (e) medical records, financial records, and tax records

pertaining to the Plaintiff, Defendant’s current and former employees, and any other witness in

this case.

        3.     This Protective Order is needed to ensure fair and efficient completion of discovery


                                                 1
      Case 2:15-cv-03398-NJB-JCW Document 56 Filed 01/06/16 Page 2 of 3



while protecting the Parties’ and third-parties’ rights in such confidential, sensitive information

and minimizing judicial intervention in the discovery process.

       4.      A copy of the proposed Protective Order is attached hereto.

       WHEREFORE, for the reasons stated above, the Parties respectfully request that the Court

grant their Joint Motion for Entry of Protective Order, and enter the Protective Order that is being

contemporaneously tendered with this Motion.

       Respectfully submitted this 6th day of January, 2016.

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                                               Inc.


                                                 2
      Case 2:15-cv-03398-NJB-JCW Document 56 Filed 01/06/16 Page 3 of 3



                                CERTIFICATE OF SERVICE

       I hereby certify that on this 6th day of January 2016, a true and correct copy of the
foregoing Joint Motion for Entry of Protective Order was served by filing the same in this Court’s
CM/ECF System, upon all counsel of record.



                                                    s/ Stacy D. Mueller




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